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IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF VIRGINIA
Richmond Division
JOHN D. WEAKLEY,
Plaintiff,

Vv. Civil Action No. 3:22cv447

CITY OF RICHMOND,
et al.,

Defendants.
ORDER
Due to a conflict in the schedules of plaintiff's counsel and
counsel for one of the defendants, it is hereby ORDERED that the
Initial Pretrial Conference scheduled for 11:00 a.m. October 19,
2022 is rescheduled to 1:30 p.m. October 26, 2022.
It is so ORDERED.

/s/ RL

Robert E. Payne
Senior United States District Judge

Richmond, Virginia
Date: October 5, 2022
